877 F.2d 60Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin Wayne MARTIN, Plaintiff-Appellant,v.John W. ANGUS, Boyce Ferguson, Defendants-Appellees.
    No. 89-7083.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 9, 1989.Decided June 12, 1989.
    
      Melvin Wayne Martin, appellant pro se.
      Linwood Theodore Wells, Jr., Office of the Attorney General of Virginia, William Thomas Robery, III, Robey &amp; Irvine, for appellees.
      Before DONALD RUSSELL, MURNAGHAN, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Melvin Wayne Martin appeals the district court's order dismissing one claim and construing a second claim as a petition for habeas corpus relief rather than as a claim under 42 U.S.C. Sec. 1983.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."    Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the dispositive issues have been decided authoritatively.
    
    
      5
      DISMISSED.
    
    